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                        UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF TEXAS
                                           Fort Worth Division

 UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE

 v.                                                       Case Number: 4:19-CR-354-Y(2)
                                                          Shawn Smith, assistant U.S. attorney
 PHILLIP MATTHEW SINCLEAIR                                Camille M. Knight, attorney for the defendant


         On December 18, 2019, the defendant, Phillip Matthew Sincleair, entered a plea of guilty to count one of the
one-count information. Accordingly, the defendant is adjudged guilty of such count, which involves the following
offense:

 TITLE & SECTION                 NATURE OF OFFENSE                      OFFENSE CONCLUDED                    COUNT

 21 U.S.C. § 846 (21 U.S.C. §§   Conspiracy to Possess with Intent to   July 31, 2017                        1
 841(a)(1) and (b)(1)(C))        Distribute a Controlled Substance

          The defendant is sentenced as provided in pages two of this judgment. The sentence is imposed under Title
18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing Commission under
Title 28, United States Code § 994(a)(1), as advisory only.

         The defendant shall pay immediately a special assessment of $100.00 for count one of the one-count
information.

          The defendant shall notify the United States attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid.

                                                                  Sentence imposed November 29, 2023.


                                                                  _______________________________
                                                                  TERRY R. MEANS
                                                                  UNITED STATES DISTRICT JUDGE

                                                                  Signed December 5, 2023.
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                                               IMPRISONMENT

          The defendant, Phillip Matthew Sincleair, is hereby committed to the custody of the Federal Bureau of
Prisons to be imprisoned for a term of 168 months on count one of the one-count information, minus the 15 months
and 6 days already served on the undischarged term of imprisonment in case no. CR17-00306 in the 235th Judicial
District Court, Cooke County, Texas, for a net term of imprisonment of 152 months and 24 days. This sentence shall
run concurrently to any remainder of the undischarged term of imprisonment in case no. CR17-00306 in the 235th
Judicial District Court, Cooke County, Texas.


         The defendant is remanded to the custody of the United States marshal.


                                           SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three
years on count one of the one-count information

        The defendant, while on supervised release, shall comply with the standard conditions recommended by the
United States Sentencing Commission at §5D1.3(c) of the U. S. Sentencing Commission Guidelines Manual and shall:

         not commit another federal, state, or local crime;

         not possess illegal controlled substances;

         not possess a firearm, destructive device, or other dangerous weapon;

         cooperate in the collection of DNA as directed by the probation officer, as authorized by the Justice for All
         Act of 2004;

         report in person to the probation office in the district to which the defendant is released within 72 hours of
         release from the custody of the Federal Bureau of Prisons;

         refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
         15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the
         probation officer;

         participate in outpatient mental-health treatment services as directed by the probation officer until
         successfully discharged, which services may include prescribed medications by a licensed physician, with
         the defendant contributing to the costs of services rendered (copayment) at a rate of at least $25 per month;
         and

         participate in an outpatient program approved by the probation officer for treatment of narcotic or drug or
         alcohol dependency that will include testing for the detection of substance use, abstaining from the use of
         alcohol and all other intoxicants during and after completion of treatment, contributing to the costs of services
         rendered (copayment) at the rate of at least $25 per month.

                                             FINE/RESTITUTION

         The Court does not order a fine or costs of incarceration because the defendant does not have the financial
resources or future earning capacity to pay a fine or costs of incarceration.

         Restitution is not ordered because there is no victim other than society at large.
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                                                    RETURN
        I have executed this judgment as follows:




        Defendant delivered on ___________________________ to ____________________________________

at ____________________________________________________________, with a certified copy of this judgment.


                                                                United States marshal


                                                                BY ________________________________
                                                                              deputy marshal
